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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                             Case No.: 20-21553-Civ-COOKE/GOODMAN

  PATRICK GAYLE, et al.,

           Petitioners,

  v.

  MICHAEL W. MEADE, in his official capacity as
  Field Office Director, Miami Field Office, U.S.
  Immigration and Customs Enforcement, et al.,

         Respondents.
  _______________________________________/

                PETITIONER’S UNOPPOSED MOTION TO RESTRICT ACCESS
                      TO DOCKET ENTRIES 7 AND 8 UNDER RULE 5.2

           This case was designated as an “alien detainee” case on the civil coversheet (DE 1-6)

  when it was filed, and was thus subjected to restricted access as per Federal Rule of Civil

  Procedure 5.2(c)(2). As the Court noted in its order (DE 49) dated April 20, 2020, the parties

  agreed to allow public access to the dockets and filings in this case, aside from the initial filings,

  such as the complaint and motion for injunctive relief, which contained sensitive information

  about the petitioners. Hence, the Court’s order permitting access to the public with the exception

  that “restrictive access should remain only for docket entries 1-4.” (DE 49.)

           The petitioners apologize for failing to advise the Court during the hearing held last week

  that Docket Entries 7 and 8 should also remain restricted. 1 These filings, labeled as Appendix II,

  contain the declarations of the petitioners which include the type of sensitive information

  justifying restricted access to the complaint and motion for injunctive relief. This Appendix II

  was intended to have been filed with the complaint, but an error occurred with the CM/ECF


       1
       Docket Entry 8 is a repetitive filing of Docket Entry 7, but with a letter from counsel
  explaining the purpose of the filing.


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  system which required that the filing be submitted under a separate docket entry. The motion for

  injunctive relief also relies upon the declarations in Appendix II.

         Therefore, the petitioners respectfully move the Court to restrict access to Docket Entries

  7 and 8 in accordance with Fed. R. Civ. P. 5.2(c), and apologize for any inconvenience that the

  petitioners may have caused by forgetting to mention these docket entries during the last hearing.

  The undersigned has communicated with counsel for the respondents about this motion, and has

  been advised that the respondents do not oppose this motion.

  Dated: April 21, 2020                                 Respectfully submitted,

                                                        s/ Mark Andrew Prada
                                                        MARK ANDREW PRADA
                                                        Fla. Bar No. 91997
                                                        Prada Urizar, PLLC
                                                        3191 Coral Way, Suite 500
                                                        Miami, FL 33145
                                                        Ofc: (786) 703-2061
                                                        Dir.: (786) 238-2222
                                                        mprada@pradaurizar.com

                                                        Co-Counsel for Petitioners




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